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                 EXHIBIT P




Public Version of Exhibit
 Previously Sought to be
         Sealed
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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               SAN JOSE DIVISION


SENTIUS INTERNATIONAL, LLC,             )   CASE NO. 5:13-CV-825-PSG
                                        )
           Plaintiff,                   )
                                        )
     v.                                 )   HIGHLY CONFIDENTIAL
                                        )   INFORMATION –
MICROSOFT CORPORATION,                  )   OUTSIDE COUNSEL ONLY
                                        )
           Defendant.                   )
                                        )
                                        )


                        EXPERT REPORT OF ROBERT MILLS
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                 22.      The named inventors of the ‘985 patent are Marc Bookman, David Kurtz,

and Niket Patwardhan. The ‘985 patent was assigned upon issuance to Sentius, and I understand

that Sentius continues to hold all rights and interest in the ‘985 patent.51 The abstract of the ‘985

patent states:

                 A method and apparatus are disclosed which automatically build a
                 database by automatically identifying a term of interest and
                 building a term database with supplemental content from an
                 assigned source for that term. A term can be selected by applying
                 various rules. An advertiser can sponsor the term, for example, by
                 having an advertisement window automatically pop-up on a
                 keyword search. Content windows can be attached to the term, the
                 content window containing information such as definitions, related
                 products or services, sponsorship information, information from
                 content syndicators, translations and reference works. Data objects
                 that represent the contents of the database and templates are
                 syndicated to remote servers running a processing engine. The
                 processing engine uses these data objects to execute linking rules
                 without requiring a connection to the database.52

        C.       Technology of the Patents-In-Suit

                 i.       The ‘731 Patent and the ‘633 Patent

                 23.      It is my understanding that the inventions described in the ‘731 patent and

the ‘633 patent are directed to an automated method of identifying words and phrases in a parsed

document and respectively linking them to external source materials that can be retrieved and

displayed in a pop-up window in response to a user selecting that word or phrase. I understand

that prior to the inventions disclosed in the ‘731 patent and the ‘633 patent, links to other

portions of a document or to other reference materials were inserted into the text stream of a

document. This complicated the original document and made dense linking very difficult.


     the ‘985 patent is extended under 35 U.S.C. 154(b) by 450 days. Hence, I understand that the ‘985 patent will
     expire on November 8, 2023, which is 450 days after August 15, 2022.
51. U.S. Patent No. 7,672,985.
52. U.S. Patent No. 7,672,985.



Expert Report of Robert Mills                                                                                   10
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Additionally, edits to the document required the movement of linking information in the text

stream, which complicated subsequent parsing of the document, and made editing the document

much more complicated.53

                 24.     It is my understanding that the ‘731 patent and ‘633 patent provide a

solution to this problem. In particular, a linking scheme is implemented using linking rules to

identify specific words and phrases in the document for linking and to record the relative

positions of the identified words or phrases along with the linking information in a separate look-

up table. This information is used to identify where in the document terms of interest for which

associated external reference materials exist and to retrieve external reference materials for

display in a pop-up window. In the context of a spell checker, for example, the linking rule

might consider whether a word matches or does not match any known word in a word lexicon.

In this example, a parsed word is compared to a list of the lexicon words to determine whether it

matches a word in the lexicon. If the parsed word does not match a word in the lexicon

(indicating that it might be misspelled), a reference may be recorded in the table structure to an

external resource, such as a dictionary, that can be used to determine associated content for that

word (such as the correct spelling of the misspelled word) that can be retrieved for display in a

pop-up window. I understand that linking rules may also be used for grammar, specialized

terms, and foreign languages.54



53. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section III (Technology
    Background).
     Sentius Technology Tutorial.
54. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section III (Technology
    Background).
     Sentius Technology Tutorial.
     Sentius’s Opening Claim Construction Brief, November 26, 2013.



Expert Report of Robert Mills                                                                          11
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                       Table 3: Accused Functionalities Available in Outlook

                                                               First Accused          Year of
                       Accused Functionality                      Version             Release

                1. Accused spell checker                        Outlook 2007            2007
                2. Accused grammar checker                      Outlook 2007            2007
                3. Smart tags                                   Outlook 2007            2007
                4. Automatic dictionary updates                 Outlook 2010            2010


        C.       PowerPoint

                 38.      On July 31, 1987, Microsoft announced its acquisition of Forethought Inc.

(“Forethought”) for $14 million.98 Forethought developed PowerPoint and FileMaker Plus, the

top-selling Macintosh database program.99 At the time of the acquisition, PowerPoint was only

available for Apple Macintosh computers.100 Microsoft introduced the first Windows version of

PowerPoint, PowerPoint 2.0, on May 18, 1990.101 PowerPoint is a presentation application that

enables users to create professional-looking presentations.102 PowerPoint provides a variety of

features to design unique and compelling slides and presentations, as well as the ability to

collaborate online to create presentations.103 The latest version of PowerPoint, PowerPoint 2013,




     “Microsoft Office 2010 Now Available for Consumers Worldwide,” Microsoft Press Release, June 15, 2010.
98. “COMPANY NEWS; Microsoft Buys Software Unit,” The New York Times, July 31, 1987.
99. “COMPANY NEWS; Microsoft Buys Software Unit,” The New York Times, July 31, 1987.
     “$14-Million Deal: Microsoft Buys Software Competitor,” Los Angeles Times, July 31, 1987.
100. “COMPANY NEWS; Microsoft Buys Software Unit,” The New York Times, July 31, 1987.
101. Gaskins, Robert, Sweating Bullets: Notes About Inventing PowerPoint, San Francisco, Vinland Books, 2012,
     p. 322.
102. Microsoft website – All Office Apps
     (http://www.microsoftstore.com/store/msusa/en_US/list/categoryID.62686200?Icid=OfficeCat_PopularApps_
     SeeAllAppsLink_052013).
103. Microsoft website – PowerPoint 2013 (http://office.microsoft.com/en-us/powerpoint/).



Expert Report of Robert Mills                                                                               21
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was introduced on January 9, 2013.104 PowerPoint is currently sold as a standalone product and

as part of Office and Office 365.105            Microsoft currently offers the standalone version of

PowerPoint for $109.99.106

                 39.      The years in which accused versions of PowerPoint with the accused spell

checker, smart tags, and dictionary updates were first released are identified in the following

table.107


                    Table 4: Accused Functionalities Available in PowerPoint

                                                               First Accused          Year of
                       Accused Functionality                      Version             Release

                1. Accused spell checker                     PowerPoint 2007            2007
                2. Accused grammar checker                        N/A                   N/A
                3. Smart tags                                PowerPoint 2007            2007
                4. Automatic dictionary updates              PowerPoint 2010            2010


        D.       OneNote

                 40.      OneNote is a digital notebook that allows users to capture, share, and save

information. It is available on Windows 7, Windows 8, Windows Phone, Mac, iPad, iPhone, and

104. Microsoft PowerPoint Product Lifecycle, Microsoft website
     (http://support.microsoft.com/lifecycle/search/default.aspx?sort=PN&alpha=powerpoint&Filter=FilterNO).
105. Microsoft website – Office
     (http://www.microsoftstore.com/store/msusa/en_US/cat/Office/categoryID.62684700).
106. Microsoft website – All Office Apps
     (http://www.microsoftstore.com/store/msusa/en_US/list/categoryID.62686200?Icid=OfficeCat_PopularApps_
     SeeAllAppsLink_052013).
107. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section VIII (Microsoft’s Accused
     Products).
     “Microsoft Launches Windows Vista and Microsoft Office 2007 to Consumers Worldwide,” Microsoft Press
     Release, January 29, 2007.
     Deposition testimony of Tristan Davis (Microsoft), May 16, 2014, pp. 135-136.
     Sentius International, LLC’s Disclosure of Asserted Claims and Preliminary Infringement Contentions
     Pursuant to Patent Local Rules 3-1 and 3-2, June 11, 2013, Chart for U.S. Patent No. 7,672,985.
     “Microsoft Office 2010 Now Available for Consumers Worldwide,” Microsoft Press Release, June 15, 2010.



Expert Report of Robert Mills                                                                                 22
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between Sentius and Veroquest provides meaningful guidance as to the outcomes of the

hypothetical negotiations between Sentius and Microsoft.

                  59.      In addition to the agreement discussed above, I am aware of a valuation of

certain of Sentius’s intellectual property that was prepared by Valuation Research Corporation

(“VRC”) on behalf of Deep River Ventures, an investor in Sentius.141 Details concerning this

valuation are discussed below.142

                  ii.      VRC Valuation

                  60.      In April 2010, VRC performed a valuation of certain of Sentius’s

intellectual property, including the ‘731 patent.143 VRC concluded that the fair market value of

Sentius’s intellectual property was $15.9 million as of March 30, 2010.144 VRC reached this

conclusion using the cost and income approaches to valuation. Under the cost approach, VRC

estimated that $9.4 million in research and development costs were incurred by Sentius in

connection with its intellectual property.145 These expenditures amounted to an estimated $6.8

million on an after-tax basis.146 VRC assumed for purposes of its cost approach analysis, that

this after-tax cost estimate is a reasonable proxy for the amount of expenditure necessary to

recreate Sentius’s intellectual property and that the amount of expenditure necessary to recreate



141. Deposition testimony of Marc Bookman (Sentius), May 29, 2014, pp. 38-40.
142. For ease of exposition, I have elected to address the valuation under Georgia-Pacific No. 1 rather than
     discussing it elsewhere in my report. By doing so, I am not suggesting that this valuation serves to “prove an
     established royalty.”
143. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754).
144. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 727).
145. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 736-737).
146. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 736-737).



Expert Report of Robert Mills                                                                                     33
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Sentius’s intellectual property provides a measure of the value of Sentius’s intellectual

property.147 Under the income approach, VRC considered the potential royalties that Sentius

might receive if it successfully pursued patent infringement litigation against Microsoft.148

Based upon a royalty rate equal to 0.5 percent of Microsoft Office U.S. revenue, which is

reduced to 0.25 percent upon expiration of the ‘731 patent, VRC estimated that total royalties

plus prejudgment interest would exceed $307 million.149 After accounting for legal expenses and

taxes, this amount was reduced to $184.5 million.150 These estimated net litigation proceeds

were further adjusted downward to account for the uncertainty of litigation. Specifically, VRC

reduced its estimate of net litigation proceeds downward by 80 percent under the assumption that

there is a 20 percent chance that Sentius will be successful in obtaining royalties from

Microsoft.151 This analysis led VRC to value Sentius’s intellectual property at $24.9 million as

of March 30, 2010, under the income approach to valuation. VRC’s ultimate valuation opinion

is based on a 50/50 weighting of its income approach and cost approach estimates.152

                 61.      The VRC valuation was prepared without access to confidential Microsoft

information, such as detailed sales data for the accused Microsoft products, Microsoft internal

documentation addressing the value of the accused functionalities within the accused Microsoft



147. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 736).
148. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 736).
149. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 738-739).
150. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 738).
151. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 738).
152. “Valuation of Sentius International LLC Intellectual Property,” Valuation Research Corporation, April 15,
     2010 (SENTIUS00120724-754 at 739).



Expert Report of Robert Mills                                                                                    34
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products, and other relevant discovery that would have been available and known by both

Sentius and Microsoft under the hypothetical negotiation framework.                         Additionally, VRC

discounted the value of Sentius’s intellectual property to account for the risk and expense of

litigation in its analysis.       This type of discounting is not appropriate in the hypothetical

negotiation framework.         Moreover, the VRC valuation was prepared on an after-tax basis

whereas damages in patent infringement litigation are awarded on a pre-tax basis. Given these

differences, I do not find the VRC valuation instructive for purposes of determining a reasonable

royalty for Microsoft’s infringement of the patents-in-suit. It is noteworthy, however, that VRC

estimated that royalties would amount to approximately $230 million through the lives of the

‘731 patent and the ‘633 patent assuming that Sentius is successful in patent infringement

litigation against Microsoft. This is consistent with a conclusion that the technology at issue here

is valuable and would warrant more than a de minimis royalty for a license to the patents-in-suit.

        Georgia-Pacific No. 2:           The rates paid by the licensee for the use of other patents
                                         comparable to the patents-in-suit

                 62.      Microsoft has produced a number of agreements under which it has

received rights to patents owned by third parties. These agreements are summarized at Exhibit 4.

I am aware of several agreements that pertain to features of Office and related software

applications.153 These agreements are discussed in greater detail below.

                 i.

                 63.




153. I note that at his deposition, John Mulgrew, Assistant General Counsel at Microsoft, was unable to identify any
     agreements under which Microsoft licensed technology comparable to the patents-in-suit. See deposition
     testimony of John Mulgrew (Microsoft), May 30, 2014, pp. 66-67.



Expert Report of Robert Mills                                                                                    35
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compensation under the ‘356 patent, which had expired on December 11, 2006.177



                 72.     I am aware that Dr. Madisetti has reviewed the patent that is the subject of

the agreement between Alcatel-Lucent and Microsoft and compared it to the functionality and

benefits provided by the ‘731 patent and the ‘633 patent.178 It is my understanding that the

technology of the Alcatel-Lucent patent is comparable to the technology of the ‘731 patent and

the ‘633 patent as they are used for the accused spell checker and the accused grammar

checker.179 These patents are all generally directed to improving productivity in word processing

through use of links to external content.180 According to Dr. Madisetti, the Alcatel-Lucent patent

provides the display and substitution of pre-defined data into cells within a form. The ‘731

patent and the ‘633 patent as they are used for the accused spell checker and the accused

grammar checker are similar to the Alcatel-Lucent patent because they also relate to linked

content and serve to increase efficiency.181

                 73.     While the technology of the Alcatel-Lucent patent is comparable to the

technology of the ‘731 patent and the ‘633 patent as they are used for the accused spell checker

and the accused grammar checker, I understand that Dr. Madisetti has concluded that the ‘731




177. U.S. Patent No. 4,763,356.
178. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review of Other
     Licensed Patents).
179. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review of Other
     Licensed Patents).
180. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review of Other
     Licensed Patents).
181. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review of Other
     Licensed Patents).



Expert Report of Robert Mills                                                                                42
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patent and the ‘633 patent provide additional benefits.182 In particular, as opposed to improving

productivity by filling in forms with frequently used information, the ‘731 patent and the ‘633

patent are directed at linking content to any useful information in an efficient manner, including

the ability to link content over a network.183

                 iv.     HyperPhrase Technologies LLC and HyperPhrase Inc.

                 74.     On November 27, 2002, HyperPhrase Technologies LLC and HyperPhrase

Inc. (collectively “HyperPhrase”) filed a complaint against Microsoft alleging that Microsoft’s

smart tags feature infringed U.S. Patent No. 6,308,171 (“the 171 patent”); U.S. Patent No.

5,895,461 (“the ‘461 patent”); U.S. Patent No. 6,272,505 (“the ‘505 patent”); and U.S. Patent

No. 6,516,321 (“the ‘321 patent”).184 On September 24, 2003, the Court granted Microsoft’s

Motion for Summary Judgment and dismissed the case after determining that HyperPhrase failed

to show that smart tags incorporated certain elements of the asserted patents.185 HyperPhrase

appealed the decision in October 2003, and the parties agreed to settle their dispute in January

2004.186



182. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review of Other
     Licensed Patents).
183. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review of Other
     Licensed Patents).
184. Docket Report, HyperPhrase Technologies, LLC, at al. v. Microsoft Corporation, Case No. 02-C-0647.
     Settlement, Release, and License Agreement between HyperPhrase Technologies LLC and HyperPhrase Inc.
     and Microsoft Corporation, January 14, 2004 (MS_SENTIUS1691628-647 at 628).
     Expert Report of Laurits R. Christensen, HyperPhrase Technologies, LLC, at al. v. Microsoft Corporation,
     Case No. 02-C-0647, July 3, 2003 (MS130570-629 at 572 and 575).
185. Docket Report, HyperPhrase Technologies, LLC, at al. v. Microsoft Corporation, Case No. 02-C-0647.
     “Federal Court Dismisses HyperPhrase Patent Infringement Case Against Microsoft,” Center for Internet and
     Society, October 7, 2003 (http://cyberlaw.stanford.edu/packets001564.shtml).
186. Docket Report, HyperPhrase Technologies, LLC, at al. v. Microsoft Corporation, Case No. 02-C-0647.
     Settlement, Release, and License Agreement between HyperPhrase Technologies LLC and HyperPhrase Inc.
     and Microsoft Corporation, January 14, 2004 (MS_SENTIUS1691628-647).



Expert Report of Robert Mills                                                                                   43
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to the accused functionalities and to the success of the accused Microsoft products beyond the

accused functionalities. The at-risk revenue calculations discussed above, however, include only

those revenues that Microsoft would stand to lose if it removed the background spell checker and

the background grammar checker from the accused Microsoft products.

       Georgia-Pacific No. 14: The opinion testimony of experts

               149.    My opinions are reflected in this report. I also rely upon the opinions of

Dr. Madisetti and Dr. Wecker. I anticipate reviewing the reports and testimony of experts

retained on behalf of Microsoft as this information becomes available.

       Georgia-Pacific No. 15: The amount that a licensor (such as the patentee) and a
                               licensee (such as the infringer) would have agreed upon (at
                               the time the infringement began) if both had been
                               reasonably and voluntarily trying to reach an agreement

               150.    In order to determine a reasonable royalty adequate to compensate Sentius

for Microsoft’s infringement of the patents-in-suit, I have analyzed the Georgia-Pacific factors

in the context of hypothetical negotiations between Sentius, as the hypothetical licensor, and

Microsoft as the hypothetical licensee. The date of the hypothetical negotiation between Sentius

and Microsoft is in or around June 2009 for a license to the ‘731 patent and the ‘633 patent, and

in or around June 2010 for a license to the ‘985 patent.

               i.      Reasonable Royalty for Accused Spell Checker and Grammar Checker

                       a)     Guidance from Microsoft Agreement with Lucent

               151.    As discussed under Georgia-Pacific No. 2, it is my understanding that the

patent that is the subject of the agreement between Microsoft and Lucent involves technology

that is comparable to the technology of the ‘731 patent and the ‘633 patent as these patents have

been used by Microsoft in connection with the accused spell checker and the accused grammar

checker. In the sections that follow, I explain how my analysis of the Georgia-Pacific factors

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and other information can be used to adjust the                          fee paid by Microsoft to Lucent to

account for differences between the agreement executed by Microsoft and Lucent and the

agreement that would emerge from the June 2009 hypothetical negotiation between Microsoft

and Sentius. This analysis provides insight into a reasonable royalty for Microsoft’s use of the

‘731 patent and the ‘633 patent for the accused spell checker and the accused grammar checker.

                                   (1)      Context of the Agreement

                 152.     As discussed under Georgia-Pacific No. 2, parties to settlement

agreements often dispute whether the subject patents are valid and whether the licensee infringes

the patents. Parties often agree to settle litigation because litigation outcomes are uncertain.

Other things being equal, resolving uncertainty over validity and infringement in favor of the

licensor—as required for purposes of determining patent infringement damages—points to a

higher royalty as compared to license agreements where uncertainty exists. No such adjustment

is necessary in the present context, however, because Microsoft entered into the agreement with

Lucent after a finding that the ‘356 patent was not invalid and was infringed by Microsoft. A

jury verdict in the United States District Court for the Southern District of California that the

‘356 patent was not invalid and that Microsoft indirectly infringed the ‘356 patent was affirmed

on appeal to the United States Court of Appeals for the Federal Circuit in September 2009. 366

This occurred two years before Microsoft entered into a settlement agreement with Lucent

concerning the ‘356 patent. It is therefore reasonable to conclude that when Microsoft entered

into the settlement agreement with Lucent, there was little uncertainty concerning Microsoft’s

infringement of a valid U.S. patent. This is similar to the June 2009 hypothetical negotiation




366. Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301 (Fed. Cir. 2009).



Expert Report of Robert Mills                                                                           90
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between Sentius and Microsoft, which is premised on acknowledgment by both parties that the

patents-in-suit are valid and will be infringed by Microsoft without a license from Sentius.

                                 (2)     Licensed Technology

                153.    Pursuant to the terms of the settlement agreement between Microsoft and

Lucent,




                              Similarly, under the agreement emerging from the June 2009

hypothetical negotiation, Microsoft would not receive development assistance from Sentius, nor

would it receive know-how, trade secrets, or rights to any intellectual property other than the

‘731 patent and the ‘633 patent. Thus, no adjustment to the financial terms of the settlement

agreement between Microsoft and Lucent is necessary for this factor.




367. Settlement Agreement between Alcatel-Lucent USA Inc. and Microsoft Corporation, December 29, 2011
     (MS_SENTIUS156552-562 at 554-555).
368. Settlement Agreement between Alcatel-Lucent USA Inc. and Microsoft Corporation, December 29, 2011
     (MS_SENTIUS156552-562 at 554).
369. Settlement Agreement between Alcatel-Lucent USA Inc. and Microsoft Corporation, December 29, 2011
     (MS_SENTIUS156552-562).



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                                   (3)         Nature and Scope of the Agreement

                 154.

                                                                   This is consistent with the nature of the

agreement that would emerge from the June 2009 hypothetical negotiation between Sentius and

Microsoft; Sentius would not receive a cross-license to any Microsoft patents.

                 155.     As discussed under Georgia-Pacific No. 3, the scope of the hypothetical

license would be non-exclusive. All else equal, non-exclusive licenses typically command lower

royalties than exclusive licenses.              The license that would emerge from the June 2009

hypothetical negotiation between Microsoft and Sentius would be unrestricted in terms of

territory or customers served. Other things being equal, unrestricted licenses typically are more

valuable than licenses with territorial or customer restrictions. No adjustment to the financial

terms of the settlement agreement between Microsoft and Lucent is necessary for this factor

given that (i)



                                         371



                                   (4)         Licensor’s Licensing Policy

                 156.     As discussed under Georgia-Pacific No. 4, a higher royalty is sometimes

justified when a patent owner has an established policy of not licensing its patents or other

intellectual property.

370. Settlement Agreement between Alcatel-Lucent USA Inc. and Microsoft Corporation, December 29, 2011
     (MS_SENTIUS156552-562).
371. Settlement Agreement between Alcatel-Lucent USA Inc. and Microsoft Corporation, December 29, 2011
     (MS_SENTIUS156552-562).
     I understand that AT&T, the predecessor to Lucent, entered into a broad portfolio cross license agreement with
     IBM that includes the ‘356 patent, and Lucent maintained that IBM used the ‘356 patent for its Lotus Notes
     product. See trial testimony of Raymond Sims, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July
     26, 2011, pp. 8-9 and “AT&T Spinoff Lucent Makes Historic IPO,” Los Angeles Times, April 4, 1996.



Expert Report of Robert Mills                                                                                   92
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                                   372
                                          I further understand that Lucent does not have an established

policy of not licensing the ‘356 patent.373 No adjustment to the financial terms of the settlement

agreement between Microsoft and Lucent is necessary for this factor given that Sentius, like

Lucent, is willing to grant licenses under its patents.

                                    (5)      Commercial Relationship

                  157.     As discussed under Georgia-Pacific No. 5, a higher royalty is often

warranted when a licensor and licensee compete in the same line of business. I am not aware of

any evidence that Sentius competed with Microsoft at the time of the June 2009 hypothetical

negotiation, nor am I aware of any evidence that licensing the patents-in-suit to Microsoft would

amount to licensing away a competitive advantage. Lucent was similarly situated given that it

did not compete with Microsoft for sales of the software products that were found to infringe the

‘356 patent.374 Accordingly, no adjustment to the financial terms of the settlement agreement

between Microsoft and Lucent is necessary for this factor.

                                    (6)      Effect on Sales of Other Products

                  158.     As discussed under Georgia-Pacific No. 6, other things being equal, the

potential to generate significant convoyed or derivative sales from the use of a patent will make a

license to that patent more valuable. I am unable to quantify the extent, if any, to which

Microsoft has generated convoyed or derivative sales from its use of the patents-in-suit, and as a

result, I consider this factor to be neutral. I am not aware of any evidence that the potential for

372. Deposition testimony of Marc Bookman (Sentius), May 29, 2014, p. 22.
373. Trial testimony of Raymond Sims, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 26, 2011, p.
     80 [“…in many cases in litigation, the licensor, the patent owner doesn’t want to license its technology. It
     wants to keep it and use it for itself to provide a competitive advantage for its products. Now, in this case,
     that’s not what Lucent does. Lucent has a policy and a practice of licensing its technology to others.”].
374. Trial testimony of Raymond Sims, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 26, 2011, p.
     81 [“In this case, Microsoft and Lucent don’t compete for Outlook and Money and Pocket PC, so there’s no
     risk to Lucent of losing sales.”].



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convoyed or derivative sales influenced the financial terms of the settlement agreement between

Microsoft and Lucent. Indeed, Lucent’s damages expert testified at trial that this factor is

neutral.375 Thus, no adjustment to the financial terms of the settlement agreement between

Microsoft and Lucent is necessary for this factor.

                                    (7)      Duration of Use

                  159.     Lucent was awarded $26.3 million in damages for Microsoft’s

infringement of the ‘356 patent.376 Of this amount, $24.6 million is attributable to Outlook.377

The damages awarded for Outlook effectively amount to $0.22 per copy of Outlook sold in the

United States during the damages period for the action brought by Lucent (which extended

through the life of the ‘356 patent).378



                                                                                                  . 379 Thus, $0.22


375. Trial testimony of Raymond Sims, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 26, 2011, p.
     82.
376. Order Granting In Part and Denying In Part Microsoft’s Motion For Judgment as a Matter of Law and in the
     Alternative, a New Trial With a Remittitur, Lucent Technologies, Inc. v. Microsoft Corporation, November 10,
     2011, p. 26.
377. The jury returned a verdict of $70.0 million in damages consistent with the amount sought by Lucent, which
     included $1.8 for Money and $68.2 million for Outlook. The Court reduced the total damages award to $26.3
     million, finding that the valuation of Outlook within Office was not supported by substantial evidence. This
     indicates that $1.8 million of the $26.3 is attributable to Money and the remaining $24.6 million is attributable
     to Outlook.
     Order Granting In Part and Denying In Part Microsoft’s Motion for Judgment as a Matter of Law and in the
     Alternative, a New Trial With a Remittitur, Lucent Technologies, Inc. v. Microsoft Corporation, November 10,
     2011, pp. 1 and 14-19.
     Trial testimony of Raymond Sims, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 26, 2011, pp.
     24 and 93-96.
378. $0.22 = $24.6 million / 109.5 million copies of Outlook.
     Order Granting In Part and Denying In Part Microsoft’s Motion for Judgment as a Matter of Law and in the
     Alternative, a New Trial With a Remittitur, Lucent Technologies, Inc. v. Microsoft Corporation, November 10,
     2011, p. 2.
379. The Court awarded Lucent $40,995,486.67 including prejudgment interest and taxed costs. The amount paid
     by Microsoft to settle its dispute with Lucent exceeds the total award by approximately $4 million. See Order
     Granting in Part and Denying in Part Microsoft’s Motion for Judgment as a Matter of Law and in the


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is a reasonable, albeit somewhat conservative indication of the consideration paid by Microsoft

per copy of Outlook sold in the United States over the duration of Microsoft’s use of the ‘356

patent. An adjustment to the per-copy rate is not necessary for this factor; differences in duration

of use (and sales made during the period of use) are captured in the base of sales to which a per-

copy rate is applied.

                                     (8)      Established Profitability of Product Made Under Patents

                  160.     Accused Microsoft products with the accused spell checker and/or the

accused grammar checker—including Word, Outlook, PowerPoint, OneNote, and Publisher—are

components of Office. In the case brought by Lucent against Microsoft, Outlook accounted for

the vast majority of accused sales.380 I conclude that an adjustment to the financial terms of the

settlement agreement between Microsoft and Lucent is not necessary for this factor given the

similar (in that they largely are components of Office) and overlapping nature of the Microsoft

products accused under the patents-in-suit and the Microsoft products found to infringe the ‘356

patent.

                                     (9)      Benefits and Advantages of the Patent Property

                  161.     Jensen Harris, the Director of Program Management for the Microsoft

Windows User Interface, has testified that about half of Office users have historically used

Outlook and approximately 40 percent of Outlook users use the Calendar module.381 This



     Alternative, a New Trial with a Remittitur, Lucent Technologies, Inc. v. Microsoft Corporation, November 10,
     2011, p. 27.
380. Order Granting In Part and Denying In Part Microsoft’s Motion For Judgment as a Matter of Law and in the
     Alternative, a New Trial With a Remittitur, Lucent Technologies, Inc. v. Microsoft Corporation, November 10,
     2011, pp. 2-3 [“Additionally, Microsoft Money and Windows Mobile infringe the [‘356] patent, but the vast
     majority of the claimed damages relate to the 109.3 million Office licenses.”].
381. Trial testimony of Jensen Harris, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 26, 2011, pp.
     237-243.



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suggests that only about 20 percent of Office users use the Calendar module of Outlook. 382 The

percentage of Office users that employ the date picker of the Calendar module of Outlook that

was found to infringe the ‘356 patent is likely considerably lower than 20 percent because not all

Outlook users who use the Calendar module actually enter dates using the date picker. 383 Mr.

Harris has characterized the date picker as a fairly trivial thing, and he testified that removing it

would be a “very very minor” distraction.384 William Kennedy, the Corporate Vice President for

the Office Communications and Mobile Experiences team, similarly testified that the date picker

is a “very small feature.”385

                  162.     In contrast to date picker—which Microsoft views as a minor feature that

is not widely used—Microsoft testimony and documents confirm that spell checker and grammar

checker capabilities are extremely important and widely employed by users.




     According to Mr. Harris, “the big dogs of Office were always Word, Excel, PowerPoint, in that
     order…Outlook is a sort of distant fourth.” See Trial testimony of Jensen Harris, Lucent Technologies, Inc., et
     al. v. Gateway, Inc., et al., July 26, 2011, pp. 241-242.
382. 20 percent = 50 percent x 40 percent.
383. Indeed, according to Mr. Harris, more people use other ways of entering a date in an appointment than using
     the date picker. See Trial testimony of Jensen Harris, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al.,
     July 26, 2011, pp. 256-257.
     See, also, trial testimony of Jensen Harris, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 26,
     2011, pp. 220-221.
384. Trial testimony of Jensen Harris, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 26, 2011, pp.
     266-267.
385. Trial testimony of William Kennedy, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 27, 2011, p.
     36.
     Mr. Kennedy also testified that Microsoft has “received no feedback, positive, negative or neutral, that [he has]
     seen about the Date Picker itself during all of [his] 12 years working on the Outlook product.” See Trial
     testimony of William Kennedy, Lucent Technologies, Inc., et al. v. Gateway, Inc., et al., July 27, 2011, pp. 29-
     30.
386. “H2 FY12 Office PSAT Program Word – Full Report,” June 29, 2012 (MS_SENTIUS104083-118 at 104).
     See, also, deposition testimony of Alex Mogilevsky (Microsoft), May 8, 2014, pp. 144 and 198.


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                 163.    According to Mr. Mogilevsky, removing background spell check from

Office is unimaginable:

                 Q. Can you imagine Microsoft removing that feature from
                    Office?
                 A. No.
                 Q. Have you ever heard of any—any discussion of every
                    removing that feature from Office?
                 A. No.
                 Q. Would it surprise you if you ever did hear any discussion of
                    removing that features?
                 A. It would.391

Mr. Crowley confirmed through his testimony that Microsoft would not decide to remove the

background spell checker.392         In fact, he testified that even if Microsoft were to write a

completely new word processor it would almost certainly decide to include the background spell

checker because it is a functionality that people have become accustomed to.393

                 164.    Microsoft further testified that the “user interface of actually displaying

misspelled words with red squiggly underline…proved to be a preferred way to check spelling

387. “Word Satisfaction,” February 2005 (MS_SENTIUS023378-435 at 381).
388. “Word Satisfaction,” February 2005 (MS_SENTIUS023378-435 at 390).
389. Microsoft presentation (MS_SENTIUS000634-644 at 634 and 642).
     Email from Krista Bendig to Tristan Davis, December 21, 2007 (MS_SENTIUS098309-310 at 309).
390. Deposition testimony of Alex Mogilevsky (Microsoft), May 8, 2014, p. 100.
391. Deposition testimony of Alex Mogilevsky (Microsoft), May 8, 2014, p. 21.
392. Deposition testimony of Terrence Crowley (Microsoft), May 12, 2014, pp.17-18.
393. Deposition testimony of Terrence Crowley (Microsoft), May 12, 2014, p.18.



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over having to invoke [a] special user interface and having a dialogue pop up for every word.”394

The background spell checker made checking for misspelled words easier as well as faster.395

Mr. Mogilevsky testified that he has never met anyone who refuses to use the background spell

checker and he cannot remember anyone ever expressing a desire to go back to the old way of

checking for misspelled words.396

                 165.    I am aware of survey evidence that supports the view that the accused

spell checker (and background spell checker) and the accused grammar checker (and background

grammar checker) are far more important and widely used than the date picker. The Sentius

survey addresses the extent to which people use Microsoft’s background and foreground spell

checker and background and foreground grammar checker as well as the amount that people are

willing to pay for background spell checker and background grammar checker capabilities. In

the course of its litigation with Microsoft, Lucent conducted a survey (the “Lucent survey”) that

addresses similar topics for the date picker.

                 166.    The results of the Lucent survey show that “approximately half (51%) of

survey respondents who used Microsoft Outlook, said they had used the calendar feature in

Microsoft Outlook to enter appointments.”397 Among the respondents in the Lucent survey who

use the calendar feature in Microsoft Outlook, 58 percent reported using the date picker either

exclusively or most of the time to enter the dates of appointments.398 In other words, less than 30




394. Deposition testimony of Alex Mogilevsky (Microsoft), May 8, 2014, pp. 29-30.
395. Deposition testimony of Alex Mogilevsky (Microsoft), May 8, 2014, p. 30.
396. Deposition testimony of Alex Mogilevsky (Microsoft), May 8, 2014, p. 30.
397. “Software Survey Report,” Field Research Corporation, October 2010, p. 25.
398. “Software Survey Report,” Field Research Corporation, October 2010, pp. 26-27.



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percent of the Lucent survey participants who use Outlook have used the calendar feature and

use the date picker either exclusively or most of the time to enter the dates of appointments.399

                167.     According to Dr. Wecker, the Sentius survey shows that more than 93

percent of the segment of the population that has used and purchased Word, PowerPoint,

Outlook, OneNote, or Publisher (as part of Office or on a standalone basis) has used the

background spell checker or foreground spell checker, and nearly 80 percent of the segment of

the population that uses one or both of these methods uses the background spell checker as

frequently or more frequently than the foreground spell checker.400 The Sentius survey further

shows that more than 87 percent of the segment of the population that has used and purchased

Word, PowerPoint, Outlook, OneNote, or Publisher (as part of Office or on a standalone basis)

has used the background grammar checker or foreground grammar checker, and more than 76

percent of the segment of the population that uses one or both of these methods uses the

background grammar checker as frequently or more frequently than the foreground grammar

checker.401

                168.     The results of the Sentius survey and the Lucent survey confirm that the

accused spell checker and the accused grammar checker are more widely used than the date

picker.    I further note that the results of these surveys are directionally consistent with

Microsoft’s testimony concerning the extent to which the date picker is used and the extent to

which the accused spell checker is used.

                169.     In the Lucent survey, purchase decision makers who use the date picker to

enter the dates of appointments were asked to assume that Outlook did not have this

399. 29.6% = 51% x 58%.
400. Expert Report of William E. Wecker, September 8, 2014, Attachment D, Table 1.
401. Expert Report of William E. Wecker, September 8, 2014, Attachment D, Table 3.



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capability.402 These participants were then asked whether they would or would not have been

willing to pay something extra for Outlook to include this capability. 403 Approximately 13

percent answered that they would have been willing to pay something extra for Microsoft

Outlook to include this capability.404 Purchase decision makers participating in the Lucent

survey who said they would have been willing to pay something extra for Outlook to include the

date picker were asked how much extra they would have been willing to pay for Outlook to

include this capability.405      The average willingness to pay among those participants who

answered the question is approximately $6.00.406 The average willingness to pay across all

purchase decision makers who use the date picker to enter the date of an appointment is

approximately $0.78.407

                 170.    In the Sentius survey, participants who would have purchased Word,

PowerPoint, Outlook, OneNote, or Publisher (as part of Office or on a standalone basis) without

the background spell checker were asked to “suppose the components of Microsoft Office

included the user-initiated spell checker option (select Spelling and Grammar menu option), but

did not include Microsoft’s ‘check spelling as you type’ option (display a red-squiggly line as

you type) [emphasis omitted].”408 These participants were then asked: “Would you have been

willing to pay an extra amount to have Microsoft’s ‘check spelling as you type’ option included

in Microsoft Office or any of its components (Word, PowerPoint, Outlook, OneNote, and


402. “Software Survey Report,” Field Research Corporation, October 2010, p. 28.
403. “Software Survey Report,” Field Research Corporation, October 2010, p. 28.
404. “Software Survey Report,” Field Research Corporation, October 2010, pp. 28-29.
405. “Software Survey Report,” Field Research Corporation, October 2010, p. 29.
406. “Software Survey Report,” Field Research Corporation, October 2010, p. 29.
407. $0.78 = $6.00 x 13% + $0.00 x 87%.
408. Expert Report of William E. Wecker, September 8, 2014, Attachment E.



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Publisher) you have purchased?”409 According to Dr. Wecker, approximately 34.5 percent of

this segment of the population would have been willing to pay an extra amount.410 Participants

in the Sentius survey who said they would have been willing to pay something extra for

Microsoft’s “check spelling as you type” capability were asked how much extra they would have

been willing to pay to include this capability.411            According to Dr. Wecker, the average

willingness to pay among the segment of the population that would be willing to pay something

extra is $16.23.412 The average willingness to pay among the segment of the population that has

used and purchased Word, PowerPoint, Outlook, OneNote, or Publisher (as part of Office or on a

standalone basis) is $3.82.413

                171.     Participants in the Sentius survey who would have purchased Word,

PowerPoint, Outlook, OneNote, or Publisher (as part of Office or on a standalone basis) without

the background grammar checker were asked to “suppose the components of Microsoft Office

included the user-initiated grammar checker option (select Spelling and Grammar menu option),

but did not include Microsoft’s ‘check grammar errors as you type’ option (display green or blue

squiggly line as you type) [emphasis omitted].”414 These participants were then asked: “Would

you have been willing to pay an extra amount to have Microsoft’s ‘check grammar errors as you

type’ option included in Microsoft Office or any of its components (Word, PowerPoint, Outlook,

OneNote, and Publisher) you have purchased?”415 According to Dr. Wecker, approximately 33.5


409. Expert Report of William E. Wecker, September 8, 2014, Attachment E.
410. Expert Report of William E. Wecker, September 8, 2014, Attachment D, Table 1.
411. Expert Report of William E. Wecker, September 8, 2014, Attachment E.
412. Expert Report of William E. Wecker, September 8, 2014, Attachment D, Table 2.
413. Expert Report of William E. Wecker, September 8, 2014, Attachment D, Table 2.
414. Expert Report of William E. Wecker, September 8, 2014, Attachment E.
415. Expert Report of William E. Wecker, September 8, 2014, Attachment E.



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percent of this segment of the population would have been willing to pay an extra amount.416

Participants in the Sentius survey who said they would have been willing to pay something extra

for Microsoft’s “check grammar as you type” capability were asked how much extra they would

have been willing to pay to include this capability.417 According to Dr. Wecker, the average

willingness to pay among the segment of the population that would be willing to pay something

extra is $15.90.418 The average willingness to pay among the segment of the population that has

used and purchased Word, PowerPoint, Outlook, OneNote, or Publisher (as part of Office or on a

standalone basis) is $3.42.419

                172.     The average willingness to pay for a feature conveys information

concerning the value that consumers place on that feature. Taken together, the Sentius survey

and the Lucent survey demonstrate that the value that consumers place on the background spell

checker and the background grammar checker is considerably greater than the value that

consumers place on the date picker.           These results are not surprising given the Microsoft

testimony noted above.

                173.     The Microsoft documents and testimony discussed above along with the

results of the Lucent survey and the Sentius survey demonstrate that a significant upward

adjustment to the per-copy amount effectively paid by Microsoft for Outlook is necessary to

account for the greater importance of the accused spell checker and accused grammar checker

capabilities that embody the ‘731 patent and the ‘633 patent as compared to the date picker. I

conclude that increasing the per-copy amount effectively paid by Microsoft by a factor of two is


416. Expert Report of William E. Wecker, September 8, 2014, Attachment D, Table 3.
417. Expert Report of William E. Wecker, September 8, 2014, Attachment E.
418. Expert Report of William E. Wecker, September 8, 2014, Attachment D, Table 4.
419. Expert Report of William E. Wecker, September 8, 2014, Attachment D, Table 4.



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a reasonable, albeit conservative, adjustment for accused Microsoft products that include both

the accused spell checker and the accused grammar checker.

                              (10)   Conclusion

               174.   The following table summarizes my conclusions regarding the adjustments

that are necessary in the context of the accused spell checker and accused grammar checker to

account for differences between the Microsoft agreement with Lucent and the agreement that

would emerge from a hypothetical negotiation between Microsoft and Sentius for a license to the

‘731 patent and the ‘633 patent.


         Table 15: Adjustments to the Amount Effectively Paid Per Copy to Lucent

     Amount effectively paid per copy for Outlook                      $0.22


                         Factor                                    Adjustment

    Context of the agreement                          No adjustment
    Licensed technology                               No adjustment
    Nature and scope of the agreement                 No adjustment
    Licensor’s licensing policy                       No adjustment
    Commercial relationship                           No adjustment
    Effect on sales of other products                 No adjustment
    Duration of use                                   Adjustment captured in sales base
    Established profitability of accused product      No adjustment
    Benefits and advantages of patent property        Upward adjustment (factor of two)


       Adjusted effective payment per copy                             $0.44


               175.   Based on the foregoing, adjusting the financial terms of the settlement

agreement between Microsoft and Lucent for differences between that agreement and the

agreement that would emerge from the June 2009 hypothetical negotiation between Microsoft

and Sentius, indicates that an effective per-copy royalty of not less than $0.44 is reasonable for

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Microsoft’s use of the ‘731 patent and the ‘633 patent for the accused spell checker and the

accused grammar checker. For products that include the accused spell checker but not the

accused grammar checker, an effective per-copy royalty of not less than $0.22 is reasonable.

                          b)       Guidance Based on Income Approach to Valuation

                 176.     The income approach to intellectual property valuation focuses on the

income-producing capability of intellectual property. In the context of patent infringement

damages, the income approach involves estimating the anticipated economic income attributable

to the use of the patent property.              Depending upon the nature of the patents and the

circumstances surrounding their use, the relevant economic income may include incremental

economic profit that would not be realized without the patents, cost savings resulting from use of

the patents, or some combination thereof. In the present context, I quantify the incremental

profits that Microsoft would stand to lose if it were to remove the accused spell checker and

accused grammar checker from the accused Microsoft products and implement the best non-

infringing alternative that was available to Microsoft at the time of the June 2009 hypothetical

negotiation.

                 177.     As discussed under Georgia-Pacific No. 13, I estimate that Microsoft

would stand to lose approximately $1.5 billion in revenue through December 31, 2013, if, at the

time of the June 2009 hypothetical negotiation, it had elected to remove the background spell

checker and the background grammar checker and instead relied upon user-initiated spell and

grammar checkers.

                                            .420 Dividing at-risk profit by the number of copies of

accused Microsoft products with the accused spell checker and/or the accused grammar checker


420. $1,013.0 million = $1,455.4 million at-risk revenue x 69.6% profit margin.



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that were sold in the United States during the damages period yields estimated at-risk profit per

copy. As discussed under Georgia-Pacific No. 11,                     copies of accused Microsoft

products with the accused spell checker and/or the accused grammar checker were sold in the

United States from June 9, 2009 through December 31, 2013. Thus, the average at-risk profit per

copy is $1.99.421

               178.    In the context of the hypothetical negotiation framework, Microsoft should

be indifferent between (a) forgoing use of the ‘731 patent and the ‘633 patent and (b) paying

Sentius a royalty equal to the profit it would lose by forgoing its use of the ‘731 patent and the

‘633 patent. In other words, Microsoft should be indifferent between removing the accused spell

checker and the accused grammar checker from the accused Microsoft products (relying instead

upon non-infringing user-initiated spell and grammar checkers) and paying a per-copy royalty of

$1.99 to avoid removing these capabilities. Microsoft would, of course, seek to pay as little as

possible for a license to the ‘731 patent and the ‘633 patent in a hypothetical negotiation, and

Sentius would seek a license fee that is as close to the full value realized from using the patents

as possible. Sentius could not reasonably expect to receive a royalty equal to the entire value

realized by Microsoft, however, because such a royalty would leave Microsoft with little or no

incentive to take a license.

               179.    Microsoft and Sentius would recognize that they both could benefit greatly

by reaching an agreement and that neither would receive any of the gains to trade if negotiations

failed. The hypothetical negotiation framework is premised on the assumption that both parties

would have access to all relevant information. Principal factors that would impact the relative

bargaining power of Microsoft and Sentius in the hypothetical negotiation framework include:


421.



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                    Microsoft would acknowledge that the ‘731 patent and the ‘633 patent are

                     valid, enforceable, and will be infringed without a license from Sentius.

                     Accordingly, the options available to Microsoft would be limited in the

                     sense that it could not realize the incremental benefit over its best non-

                     infringing alternative without a license from Sentius.

                    Sentius is a willing licensor that does not manufacture or sell products and

                     therefore largely relies upon the efforts of others in order to monetize its

                     technology.

                    Microsoft would receive only a non-exclusive, bare license to practice the

                     patents-in-suit; it would not receive know-how, technical support, or rights

                     to any other technology.

                    The parties would recognize that the at-risk profit estimate is

                     conservatively low in the sense that it is based on Microsoft’s operating

                     margin and not its incremental margin.           The software industry is

                     characterized by a cost structure whereby development usually accounts

                     for a significant portion of the costs. After software is developed, the

                     marginal cost of selling an additional unit generally is quite low.

                     Incremental costs typically are limited to marketing, distribution, royalties,

                     and physical reproduction.

                    Sentius would recognize that Microsoft wrote the code for the accused

                     spell checker and the accused grammar checker, Microsoft has been

                     granted patents related to these capabilities, and Microsoft has contributed

                     greatly to the success of the accused Microsoft products.


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                      Microsoft has used the ‘731 patent and the ‘633 patent extensively; the

                       accused spell checker and/or the accused grammar checker have been

                       widely deployed in Microsoft’s office productivity software offerings.

               180.    Acknowledgement by Microsoft that the ‘731 patent and the ‘633 patent

are valid and would be infringed without a license from Sentius would serve to increase

Sentius’s bargaining power relative to Microsoft. The fact that Sentius does not manufacture or

sell products and instead relies upon others to monetize its technology would serve to increase

Microsoft’s bargaining power relative to Sentius. The importance of the accused spell checker

and the accused grammar checker and the extent to which they are deployed would favor Sentius

in the hypothetical negotiation for a license to the ‘731 patent and the ‘633 patent as would the

conservative nature of the at-risk profit estimate. The scope of the license and contributions that

Microsoft has made to the development of the accused spell checker and accused grammar

checker would favor Microsoft in the hypothetical negotiation.

               181.    The effective per-copy royalty of $0.44 discussed above for Microsoft’s

use of the ‘731 patent and the ‘633 patent for the accused spell checker and the accused grammar

checker amounts to approximately 22 percent of the at-risk profit per copy for accused Microsoft

products. Given the relative bargaining strengths discussed above, I have concluded that this is a

conservative outcome. If Microsoft and Sentius were negotiating over the at-risk profit, Sentius

would be in a position to negotiate for more than 22 percent and perhaps as much as 50 percent

of the at-risk profit. It is noteworthy that the jury in the patent infringement case brought against

Microsoft by Lucent awarded damages that are consistent with Microsoft and Lucent having

roughly equal bargaining power when it comes to negotiating over the estimated Microsoft profit




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at risk in that case.422 While the Court later reduced the jury’s damages verdict, it left intact the

conclusion that Lucent and Microsoft would share equally the benefits derived from Microsoft’s

use of Lucent’s patent.423        Given similar circumstances with respect to the context of the

agreements, the licensed technology, the nature and scope of the agreements, the willingness to

grant licenses, the commercial relationship between the licensors and Microsoft, the effect of the

licensed patents in securing sales of non-patented products, and the established profitability of

the products made under the patents, the jury’s verdict reflecting a 50/50 split of at-risk profits in

the Lucent litigation provides another useful benchmark here.

                          c)       Conclusion Regarding Per-Unit Royalty for the Accused Spell
                                   Checker and the Accused Grammar Checker

                 182.     In light of the guidance provided by the agreement between Microsoft and

Lucent and the guidance provided by the income approach to valuation, I have concluded that an

effective per-copy royalty of not less than $0.44 is reasonable for Microsoft’s use of the ‘731

patent and the ‘633 patent for the accused spell checker and the accused grammar checker. For

accused Microsoft products that include the accused spell checker but not the accused grammar

checker, an effective per-copy royalty of not less than $0.22 is reasonable.

                 ii.      Reasonable Royalty for Smart Tags

                          a)       Guidance from Microsoft Agreement with Arendi

                 183.     As discussed under Georgia-Pacific No. 2, it is my understanding that the

patents that are the subject of the agreement between Microsoft and Arendi involve technology



422. Order Granting In Part and Denying In Part Microsoft’s Motion for Judgment as a Matter of Law and in the
     Alternative, a New Trial with a Remittitur, Lucent Technologies, Inc. v. Microsoft Corporation, November 10,
     2011, pp. 10-11.
423. Order Granting In Part and Denying In Part Microsoft’s Motion for Judgment as a Matter of Law and in the
     Alternative, a New Trial with a Remittitur, Lucent Technologies, Inc. v. Microsoft Corporation, November 10,
     2011, p. 19.



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that is comparable to the technology of the ‘731 patent and the ‘633 patent as these patents have

been used by Microsoft in connection with its smart tags functionality. 424 In the sections that

follow, I explain how my analysis of the Georgia-Pacific factors and other information can be

used to adjust the                  fee paid by Microsoft to Arendi to account for differences between

the agreement executed by Microsoft and Arendi and the agreement that would emerge from the

June 2009 hypothetical negotiation between Microsoft and Sentius. This analysis provides

insight into a reasonable royalty for Microsoft’s use of the ‘731 patent and the ‘633 patent for

smart tags.

                                   (1)      Context of the Agreement

                 184.     The license agreement between Microsoft and Arendi was negotiated at a

time when Microsoft denied that it infringed the patents asserted by Arendi and Microsoft

maintained that the patents asserted by Arendi were invalid. This differs from the hypothetical

negotiation framework, where both Microsoft and Sentius would agree that the patents-in-suit

are valid and will be infringed by Microsoft unless Microsoft obtains a license from Sentius.

                 185.     Studies have shown that plaintiffs in patent infringement matters prevail at

the trial court level in less than 50 percent of the matters that are resolved by pretrial motions or

by a trial verdict.425 The success rate for patent owners reportedly falls to about 25 percent after

appeals are taken into account.426 These data demonstrate that litigation involves significant risk.

It has been my experience that parties to settlement agreements often take this uncertainty into

account when negotiating terms.              In particular, license fees that emerge from settlement


424. Deposition testimony of John Mulgrew (Microsoft), May 30, 2014, p. 78.
425. See, for example, Sherry, Edward F. and David J. Teece, “Royalties, evolving patent rights, and the value of
     innovation,” Research Policy, 2004, pp. 179-191.
426. See, for example, Janicke, Paul M. and LiLan Ren, “Who Wins Patent Infringement Cases?,” AIPLA Quarterly
     Journal, Winter 2006, p. 8.



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agreements that are entered before validity and infringement are established typically reflect a

“discount” to deal with this uncertainty.

               186.    To take a numerical example, assume that a patent owner and an alleged

infringer were to agree that a reasonable license fee for a patent is $120 million assuming that the

patent is valid and the alleged infringer actually infringes. Further assume for purposes of this

numerical example, that both the patent owner and the alleged infringer recognize based on

historical patent infringement trial outcomes that there is only about a 50 percent chance that the

patent owner will prevail on validity and infringement issues at trial. Under these circumstances,

a rational alleged infringer would not likely pay $120 million to settle the dispute and a rational

patent owner would not likely expect to receive the full $120 million. Negotiating parties that

face a known (or agreed upon) level of uncertainty—a 50 percent chance of success in this

numerical example—might agree to settle the matter based on a discount that reflects the

likelihood that the patent will be found valid and infringed. That is, the parties in this numerical

example might be expected to settle for $60 million (50 percent of $120 million) assuming that

there is no opportunity to appeal. Historical data indicates that patent owners are successful only

about 25 percent of the time when appeals are considered. Assuming for purposes of this

numerical example that both the patent owner and the alleged infringer recognize that there is

only about a 25 percent chance that the patent owner will prevail through appeals, the parties

may be expected to settle for $30 million (25 percent of $120 million).

               187.    Although quantifying the precise uncertainty discount for a particular

settlement agreement may not be possible, the concept of a settlement discount is based on sound

economics. The relatively low plaintiff success rates discussed above suggest that settlement

discounts of 50 percent to 75 percent (or even higher in some cases) may be reasonable.



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                  188.     Other things being equal, resolving uncertainty over validity and

infringement in favor of the licensor—as required for purposes of determining patent

infringement damages—points to a higher royalty as compared to license agreements where

uncertainty exists.

                                    (2)      Licensed Technology

                  189.     The agreement that would emerge from the June 2009 hypothetical

negotiation between Microsoft and Sentius would provide license rights to only the ‘731 patent

and the ‘633 patent. Microsoft would not receive development assistance, know-how, trade

secrets, or any other intellectual property from Sentius.



                  190.     Unlike the license that would emerge from the hypothetical negotiation,

which would be limited to U.S. patent rights,
                                                                            427




                                                                                     My effective royalty rate

calculations for the Arendi agreement are conservatively based on worldwide sales of relevant

Microsoft products.429 Thus, no further adjustment is necessary to account for this issue.




427. Settlement and License Agreement between Arendi S.A.R,L, and Microsoft Corporation, November 28, 2011
     (MS_SENTIUS156546-551 at 547).
428. Settlement and License Agreement between Arendi S.A.R,L, and Microsoft Corporation, November 28, 2011
     (MS_SENTIUS156546-551 at 546).
429. This approach likely produces conservatively low effective royalty rates because it is based on the implicit
     assumption that Arendi has worldwide patent rights.




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                191.




                    .430 At the June 2009 hypothetical negotiation, Microsoft and Sentius would

only negotiate a license to the ‘731 patent and the ‘633 patent. Microsoft would not receive a

license to all of Sentius’s patents.




                                 (3)     Nature and Scope of the Agreement

                192.

                                                 This is consistent with the nature of the agreement

that would emerge from the June 2009 hypothetical negotiation between Sentius and Microsoft;

Sentius would not receive a cross-license to any Microsoft patents.

                193.    As discussed under Georgia-Pacific No. 3, the scope of the hypothetical

license would be non-exclusive. All else equal, non-exclusive licenses typically command lower

royalties than exclusive licenses.        The license that would emerge from the hypothetical

negotiation between Microsoft and Sentius for the ‘731 patent and the ‘633 patent would be

unrestricted in terms of territory or customers served. Other things being equal, unrestricted

licenses typically are more valuable than licenses with territorial or customer restrictions. The

430. Settlement and License Agreement between Arendi S.A.R,L, and Microsoft Corporation, November 28, 2011
     (MS_SENTIUS156546-551).



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                                     (4)      Licensor’s Licensing Policy

                   194.     As discussed under Georgia-Pacific No. 4, a higher royalty is sometimes

justified when a patent owner has an established policy of not licensing its patents or other

intellectual property.
                                    431


                                                           432
                                                                 No adjustment to the financial terms of the

agreement between Microsoft and Arendi is necessary for this factor



                                     (5)      Commercial Relationship

                   195.     As discussed under Georgia-Pacific No. 5, a higher royalty is often

warranted when a licensor and licensee compete in the same line of business. I am not aware of

any evidence that Sentius competed with Microsoft at the time of the June 2009 hypothetical

negotiation, nor am I aware of any evidence that licensing the patents-in-suit to Microsoft would

amount to licensing away a competitive advantage. Arendi was similarly situated given that

Arendi does not sell products that compete with the Microsoft products that Arendi had accused




431. Deposition testimony of Marc Bookman (Sentius), May 29, 2014, p. 22.
432.

       (see Expert Report of Laurits R. Christensen, Arendi USA, Inc., et al. v. Microsoft Corporation, Case No. 1:02-
       CV-00343 (MS0128201-279 at 236).



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under its patents.433 Accordingly, no adjustment to the financial terms of the agreement between

Microsoft and Arendi is necessary for this factor.

                                   (6)      Effect on Sales of Other Products

                 196.     As discussed under Georgia-Pacific No. 6, other things being equal, the

potential to generate significant convoyed or derivative sales from the use of a patent will make a

license to that patent more valuable. I am unable to quantify the extent, if any, to which

Microsoft has generated convoyed or derivative sales from its use of the patents-in-suit, and as a

result, I consider this factor to be neutral. I am not aware of any evidence that the potential for

convoyed or derivative sales influenced the financial terms of the settlement agreement between

Microsoft and Arendi.434 Thus, I make no adjustment to the financial terms of the agreement

between Microsoft and Arendi for this factor.

                                   (7)      Duration of Use

                 197.     Microsoft has sold                         copies of accused Microsoft products

with smart tags capability from June 9, 2009 through December 31, 2013 (see Exhibit 26). As

discussed under Georgia-Pacific No. 2 and summarized in the following table, I have calculated

effective royalty rates for the agreement between Microsoft and Arendi under two scenarios.

The midpoint of the range of effective royalty rates I have calculated for the Arendi agreement is

$0.038 per copy.




433. Expert Report of Laurits R. Christensen, Arendi U.S.A., Inc., et al. v. Microsoft Corporation, Case No. 1:02-
     CV-00343 (MS 128201-279 at 236-237).
434. Expert Report of Laurits R. Christensen, Arendi U.S.A., Inc., et al. v. Microsoft Corporation, Case No. 1:02-
     CV-00343 (MS 128201-279 at 238-240).



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                        Table 16: Summary of Arendi Effective Royalty Rates

                          Scenario                                    Date Range                 Effective Rate

  1. Through life of Arendi asserted patents                      02/24/09 – 12/09/19         $0.016 per copy
  2. Through date of Arendi settlement                            02/24/09 – 11/28/11         $0.060 per copy
  3. Midpoint                                                                                 $0.038 per copy


An adjustment to the effective per-copy rate paid by Microsoft to Arendi is not necessary for this

factor; differences in duration of use (and sales made during the period of use) are captured in

the base of sales to which a per-copy rate is applied.

                                   (8)      Established Profitability of Product Made Under Patents

                 198.     The Microsoft products that Arendi accused of infringing its patents

include Office and certain standalone software applications (i.e., Word and Excel).435 I conclude

that an adjustment to the financial terms of the agreement between Microsoft and Arendi is not

necessary for this factor given the largely overlapping nature of the Microsoft products accused

under the patents-in-suit and the Microsoft products accused under Arendi’s patents.

                                   (9)      Benefits and Advantages of the Patent Property

                 199.     As discussed under Georgia-Pacific No. 2, while the technology of the

Arendi patents is comparable to the technology of the ‘731 patent and the ‘633 patent as they are

used for smart tags, I understand that Dr. Madisetti has concluded that the technology of the

Arendi patents is not as valuable in the current context given that the Arendi patents do not

provide all of the advantages that the patents-in-suit provide to the accused Microsoft



435. Expert Report of Laurits R. Christensen, Arendi U.S.A., Inc., et al. v. Microsoft Corporation, Case No. 1:02-
     CV-00343 (MS 128201-279 at 208).
     Complaint, Arendi Holding Ltd. v. Microsoft Corporation, et al., February 24, 2009, p. 3.



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products.436 In particular, I understand that the Arendi patents do not provide the advantage of

using a look-up table to pre-record the offset locations of terms of interest in a document and

linking information to dictionary materials to be displayed for such terms of interest.437

                 200.     As discussed under Georgia-Pacific Nos. 9, 10, and 11, despite

Microsoft’s initial belief that smart tags would be widely used, by the time of the hypothetical

negotiation, Microsoft realized that smart tags were not a significant feature in terms of driving

Office sales and usage.438 According to Mr. Davis, usage of smart tags turned out to be low, and

as a result, Microsoft turned off smart tags by default beginning with Office 2010.439 The license

agreement between Arendi and Microsoft was executed in November 2011. The fact that smart

tags usage was not as great as Microsoft had initially expected was already known to Microsoft

at the time that it agreed to                                                                 (and smart tags

were already turned off by default at that time). Because the terms of the Arendi agreement were

negotiated with knowledge of actual smart tags usage levels, no adjustment to the financial terms

of the agreement between Microsoft and Arendi is necessary for this factor.

                                   (10)    Conclusion

                 201.     The following table summarizes my conclusions regarding the adjustments

that are necessary in the context of smart tags to account for differences between the Microsoft

agreement with Arendi and the agreement that would emerge from a hypothetical negotiation

between Microsoft and Sentius for a license to the ‘731 patent and the ‘633 patent.



436. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review of Other
     Licensed Patents).
437. Infringement Expert Report of Dr. Vijay K. Madisetti, September 8, 2014, Section XII (Review of Other
     Licensed Patents).
438. Deposition testimony of Terrence Crowley (Microsoft), May 12, 2014, p. 219.
439. Deposition testimony of Tristan Davis (Microsoft), May 16, 2014, p. 98.



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         Table 17: Adjustments to the Amount Effectively Paid Per Copy to Arendi

            Amount effectively paid per copy                     $0.016 to $0.060


                         Factor                                     Adjustment

      Context of the agreement                        Upward adjustment
      Licensed technology                             Downward adjustment
      Nature and scope of the agreement               No adjustment
      Licensor’s licensing policy                     No adjustment
      Commercial relationship                         No adjustment
      Effect on sales of other products               No adjustment
      Duration of use                                 Adjustment captured in sales base
      Established profitability of accused product    No adjustment
      Benefits and advantages of patent property      No adjustment


         Adjusted effective payment per copy                           $0.03


               202.    A royalty that is lower than the upper end of the range of the effective

royalty rates I have calculated for the Arendi agreement is reasonable given that this rate was

calculated using sales through the date of the settlement agreement and Microsoft continued to

offer smart tags after the effective date of the settlement agreement. A rate that is higher than the

lower end of the range of the effective royalty rates I have calculated for the Arendi agreement is

reasonable given that this rate was calculated under the assumption that Microsoft will continue

to offer smart tags for the duration of the Arendi patents (and place the same per-copy value on

future use as past use) despite the low usage reported by Microsoft. Based on the foregoing, I

conclude that a per-copy royalty of $0.03 is reasonable for Microsoft’s use of the ‘731 patent and

the ‘633 patent for smart tags. A per-copy royalty rate of $0.03 is slightly lower than the

midpoint of the lower and upper ends of the range of effective royalty rates I have calculated for

the Arendi agreement. Using the midpoint of the range of effective royalty rates is conservative

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                                                             EXHIBIT 7
                                           ALCATEL-LUCENT
                                 EFFECTIVE ROYALTY RATE CALCULATION
                                              OUTLOOK


                                                                                                             Outlook
                                                                                       Outlook               Imputed
                                                              Licensed                 Effective              Royalty
                                                                Sales                    Rate                Payment
                                                                (000s)                 (Dollars)             ($000s)

                                                                  (1)                     (2)                   (3)
                                                                                                              (1)x(2)


                 1.      Microsoft Outlook                      109,500.0          $            0.22     $       24,550
                 2.      Total                                  109,500.0                                $       24,550


                                               Detail may not sum to total due to rounding.

                      Source: Col. (1) - Total licensed Outlook sales amount are approximately 109.5 million units.
                                         See Order Granting in Part and Denying In Part Microsoft's Motion for
                                         Judgment as a Matter of Law and in the Alternative, a New Trial with a
                                         Remittitur, Lucent Technologies, Inc. v. Microsoft Corporation , Case
                                         No. 07-CV-2000, November 10, 2011, p. 7.

                              Col. (2) - Rate that yields a total payment of $24.6 million.
                                        After a jury awarded Lucent $70.0 million in damages for Microsoft's
                                        infringement of the '356 patent, the Court subsequently lowered the
                                        award to $26.3 million, after making adjustments to the Outlook per-unit
                                        revenue figure. The Court otherwise left Lucent's damages calculation
                                        unchanged. Lucent sought no more than $1.8 million in damages from
                                        Microsoft's infringement of the '356 patent in Money. The portion of the
                                        award attributable to Outlook ($24.6 million) is calculated as $26.3 million
                                        minus $1.8 million. See Order Granting in Part and Denying In Part
                                        Microsoft's Motion for Judgment as a Matter of Law and in the Alternative,
                                        a New Trial with a Remittitur, Lucent Technologies, Inc. v. Microsoft
                                        Corporation, Case No. 07-CV-2000, November 10, 2011, p. 19 and
                                        Trial Transcript, Volume IV, Lucent Technologies, Inc., et al., v.
                                        Gateway, Inc., et al. , Case No. 3:07-CV-2000, July 26, 2011, pp. 24, 31,
                                        96, and 102-103.
                              Col. (3) - Column (1) times Column (2).




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                                                                                EXHIBIT 27
                                                   RUNNING ROYALTY CALCULATION
                                        ACCUSED SPELL CHECKER AND ACCUSED GRAMMAR CHECKER
                                                      '733 PATENT AND '631 PATENT
                                                    JUNE 9, 2009 - FEBRUARY 16, 2014


                                           Jun 9-30                                                                          Jul-Dec        Jan-Feb.16
                                           FY2009              FY2010         FY2011           FY2012          FY2013        FY2014           FY2014         Total
                                                                                        (Thousands, Except Royalty Rate)

                                              (1)               (2)            (3)              (4)             (5)             (6)              (7)          (8)
                                                                                                                                                          Sum (1)…(7)

         Copies Sold
    1.    Outlook
    2.    PowerPoint
    3.    Word
    4.    Publisher
    5.    OneNote
    6.    Total

         Royalty Rates
    7.    Outlook                         $      0.44      $      0.44    $      0.44      $      0.44     $      0.44      $      0.44     $      0.44
    8.    PowerPoint                             0.22             0.22           0.22             0.22            0.22             0.22            0.22
    9.    Word                                   0.44             0.44           0.44             0.44            0.44             0.44            0.44
   10.    Publisher                              0.22             0.22           0.22             0.22            0.22             0.22            0.22
   11.    OneNote                                0.22             0.22           0.22             0.22            0.22             0.22            0.22

         Royalty
   12.    Outlook
   13.    PowerPoint
   14.    Word
   15.    Publisher
   16.    OneNote
   17.    Total


                   Note: Copies sold per day from January 1, 2014 through February 16, 2014 estimated using average daily sales for the period July 1,
                         2013 through December 31, 2013.

              Source: Exhibit 22, " Copies of Accused Microsoft Products Sold in the U.S., With Accused Spell Checker, Accused Grammar Checker,
                      and/or Smart Tags."
                         See Narrative for detail on royalty rates.




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                                                                                 EXHIBIT 31
                                                                  RUNNING ROYALTY CALCULATION
                                                                            SMART TAGS
                                                                    '731 PATENT AND '633 PATENT
                                                                  JUNE 9, 2009 - FEBRUARY 16, 2014


                                             Jun 9-30                                                                         Jul-Dec       Jan-Feb.16
                                              FY2009              FY2010        FY2011           FY2012         FY2013        FY2014          FY2014         Total
                                                                                          (Thousands, Except Royalty Rate)

                                                 (1)               (2)           (3)              (4)            (5)            (6)              (7)          (8)
                                                                                                                                                          Sum (1)…(7)

          Units Sold
     1.     Outlook
     2.     PowerPoint
     3.     Word
     4.     Total

     5.     Royalty Rate                    $      0.03       $      0.03   $      0.03      $      0.03    $      0.03     $      0.03     $      0.03

          Royalty
     6.     Outlook
     7.     PowerPoint
     8.     Word
     9.     Total


                    Note: Copies sold per day from January 1, 2014 through February 16, 2014 estimated using average daily sales for the period July 1,
                          2013 through December 31, 2013.

                Source: Exhibit 26, "Copies of Accused Microsoft Products Sold in the U.S. With Smart Tags."
                          See narrative for discussion of royalty rate.




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